                UNITED STATES COURT OF APPEALS
                    FOR THE EIGHTH CIRCUIT

                                  No: 24-3444

                              Rhonda Burnett, et al.

                                             Appellees

                                        v.

          National Association of Realtors and Home Services of America

                                             Appellees

             Keller Williams Realty, Inc. and Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC

                                             Appellees

                                 RE/MAX LLC

                                        v.

                      Brown Harris Stevens and The Agency

                                             Appellees

                                        v.

                          Spring Way Center, LLC, et al.

                                             Appellants


                                  No: 24-3450

                              Rhonda Burnett, et al.

                                             Appellees

                                        v.

          National Association of Realtors and Home Services of America

                                             Appellees

             Keller Williams Realty, Inc. and Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC


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                                             Appellees

                                 RE/MAX LLC

                                        v.

                      Brown Harris Stevens and The Agency

                                             Appellees

                                        v.

                                  Monty March

                                             Appellant

                                  No: 24-3451

                              Rhonda Burnett, et al.

                                             Appellees

                                        v.

          National Association of Realtors and Home Services of America

                                             Appellees

                             Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC

                                             Appellees

                 RE/MAX LLC and Keller Williams Realty, Inc.

                                        v.

                      Brown Harris Stevens and The Agency

                                             Appellees

                                        v.

                                Robert Friedman

                                             Appellant

                                  No: 24-3527

                              Rhonda Burnett, et al.


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                                             Appellees

                                        v.

          National Association of Realtors and Home Services of America

                                             Appellees

             Keller Williams Realty, Inc. and Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC

                                             Appellees

                                 RE/MAX LLC

                                        v.

                      Brown Harris Stevens and The Agency

                                             Appellees

                                        v.

                            Benny D. Cheatham, et al.

                                             Appellants

                                  No: 24-3585

                              Rhonda Burnett, et al.

                                             Appellees

                                        v.

          National Association of Realtors and Home Services of America

                                             Appellees

             Keller Williams Realty, Inc. and Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC

                                             Appellees

                                 RE/MAX LLC

                                        v.

                      Brown Harris Stevens and The Agency


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                                              Appellees

                                         v.

                                Tanya Monestier

                                              Appellant

                            ------------------------------

                               Manhattan Institute

                              Amicus on Behalf of Appellant(s)

                                   No: 24-3619

                              Rhonda Burnett, et al.

                                              Appellees

                                         v.

          National Association of Realtors and Home Services of America

                                              Appellees

             Keller Williams Realty, Inc. and Realogy Holdings Corp.

                  BHH Affiliates, LLC and HSF Affiliates, LLC

                                              Appellees

                                 RE/MAX LLC

                                         v.

                      Brown Harris Stevens and The Agency

                                              Appellees

                                         v.

                                   James Mullis

                                              Appellant

                                   No: 24-3621

                              Rhonda Burnett, et al.

                                              Appellees


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                                                 v.

                National Association of Realtors and Home Services of America

                                                      Appellees

                    Keller Williams Realty, Inc. and Realogy Holdings Corp.

                         BHH Affiliates, LLC and HSF Affiliates, LLC

                                                      Appellees

                                          RE/MAX LLC

                                                 v.

                             Brown Harris Stevens and The Agency

                                                      Appellees

                                                 v.

                                       Rosalie Doyle, et al.

                                                      Appellants

______________________________________________________________________________

     Appeals from U.S. District Court for the Western District of Missouri - Kansas City
                                  (4:19-cv-00332-SRB)
______________________________________________________________________________

                                             ORDER

       The motions for leave to file overlength briefs filed by appellees Breit, Burnett, Ellis,

Harvey, Keel and National Association of Realtors are denied.

                                                        June 27, 2025




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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